

People v Jenkins (2021 NY Slip Op 06965)





People v Jenkins


2021 NY Slip Op 06965


Decided on December 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2021

Before: Gische, J.P., Webber, Oing, Singh, Higgitt, JJ. 


Ind. No. 3681/16 Appeal No. 14848 Case No. 2018-04231 

[*1]The People of the State of New York, Respondent,
vGregory Jenkins, Defendant-Appellant.


Caprice R. Jenerson, Office of The Appellate Defender, New York (Alba R. Morales of counsel), and Dechert LLP, New York (Brendan M. Herrmann of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Diana Wang of counsel), for respondent.



Judgment, Supreme Court, New York County (Michael R. Sonberg, J. at motions; Stephen M. Antignani, J. at jury trial and sentencing), rendered June 18, 2018, as amended June 19, 2018, convicting defendant of criminal possession of a weapon in the second degree, criminal possession of a controlled substance in the fourth degree, criminally using drug paraphernalia in the second degree (three counts), and unlawful possession of ammunition, and sentencing him to an aggregate term of 10 years, unanimously affirmed.
Based on our review of the record, including our in camera review of sealed or redacted materials, we find no basis to controvert the search warrant at issue or to grant any other relief (see e.g. People v Evans, 179 AD3d 549 [1st Dept 2020], lv denied 35 NY3d 969 [2020]). The record, including the sealed minutes of the confidential informant's testimony, establishes probable cause for the issuance of the warrant, and we decline to grant defense counsel access to those minutes (see People v Castillo, 80 NY2d 578, 585 [1992], cert denied 507 US 1033 [1993]).
We perceive no basis for reducing the sentence. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2021








